Filed 10/09/18                                    Case 17-24659                                                      Doc 98



       1   JaVonne M. Phillips, Esq. SBN 187474
           Jennifer C. Wong, Esq. SBN 246725
       2   McCarthy & Holthus, LLP
       3   1770 Fourth Avenue
           San Diego, CA 92101
       4   Phone (877) 369-6122
           Fax (619) 685-4811
       5
       6   Attorneys for
           Wells Fargo Bank, N.A., its assignees and/or successors
       7
       8
                                UNITED STATES BANKRUPTCY COURT
       9
                                  EASTERN DISTRICT OF CALIFORNIA
      10
                                          SACRAMENTO DIVISION
      11
      12   In re                                         ) Case No. 17-24659
      13                                                 )
      14
                                                         ) Chapter 13
           Martha Coffin Sault                           )
      15   Richard Kelly Sault, jr. dba Sault            ) DC No. PGM-3
      16   Construction,                                 )
                                                         ) NON-OPPOSITION TO MOTION
      17
                        Debtors.                         ) TO SELL REAL PROPERTY
      18                                                 )
      19                                                 ) Property: 7236 Cardinal Road, Fair
                                                         ) Oaks, CA 95628
      20                                                 )
      21                                                 )
                                                         ) Date: 10/23/18
      22
                                                         ) Time: 2:00 PM
      23                                                 ) Ctrm: 33
      24                                                 ) Place: 501 I Street
                                                         )        Sacramento, CA
      25                                                 )
      26                                                 )
                                                         )
      27
                                                         )
      28
      29


                                                   1                                       File No. CA-18-149521
                                                                     Response to Motion to Sell, Case No. 17-24659
Filed 10/09/18                                       Case 17-24659                                                         Doc 98



       1          Wells Fargo Bank, N.A., its assignees and/or successors (“Wells Fargo”) files this Non-

       2   Opposition to Motion to Sell filed by Debtors, Martha Coffin Sault and Richard Kelly Sault, jr.

       3   (“Debtors”), as follows:

       4          Wells Fargo is entitled to receive payments per the terms of a Promissory Note dated

       5   8/29/2007 in the principal amount of $50,000.00 which is secured by a Second Deed of Trust for

       6   the real property commonly known as: 7236 Cardinal Road, Fair Oaks, CA 95628 (“Subject

       7   Property”).

       8          Pursuant to 11 U.S.C. § 363(f) Secured Creditor is entitled to the full payment of their

       9   claim. Wells Fargo has no Opposition to Debtor’s Motion to Sell the subject property so long as

      10   the lien of Wells Fargo is paid off in full satisfaction of the debt and the close of sale and receipt

      11   of funds shall be within 90 days from the date of the Order.

      12
      13          Based upon the foregoing, Wells Fargo respectfully requests any Order granting Debtors'

      14   Motion to sell include the below language:

      15          The loan secured by a $50,000.00 lien on real property located at 7236 Cardinal

      16          Road, Fair Oaks, CA 95628 will be paid in full as of the date of the closing of the

      17          sale, and the sale will be conducted through an escrow and based on a non-

      18          expired contractual payoff statement received directly from Wells Fargo Bank.

      19
      20
                                                                      Respectfully submitted,
      21          Dated: 10/8/2018                                    McCarthy & Holthus, LLP
      22
      23                                                        By:   /s/ Jennifer C. Wong
                                                                      Jennifer C. Wong, Esq.
      24                                                              Attorneys for Wells Fargo Bank, N.A.,
      25                                                              its assignees and/or successors

      26
      27
      28
      29


                                                      2                                          File No. CA-18-149521
                                                                           Response to Motion to Sell, Case No. 17-24659
Filed 10/09/18                                    Case 17-24659                                                    Doc 98



       1   JaVonne M. Phillips, Esq. SBN 187474
           Jennifer C. Wong, Esq. SBN 246725
       2
           McCarthy & Holthus, LLP
       3   1770 Fourth Avenue
           San Diego, CA 92101
       4   Phone (877) 369-6122
       5   Fax (619) 685-4811

       6   Attorneys for
           Wells Fargo Bank, N.A., its assignees and/or successors
       7
       8
       9                        UNITED STATES BANKRUPTCY COURT
      10                          EASTERN DISTRICT OF CALIFORNIA
      11                                  SACRAMENTO DIVISION
      12
           In re:                                          ) Case No. 17-24659
      13
                                                           )
      14   Martha Coffin Sault                             ) Chapter 13
      15   Richard Kelly Sault, jr. dba Sault              )
           Construction,                                   ) DC: PGM-3
      16                                                   )
      17                  Debtors.                         )
                                                           ) PROOF OF SERVICE
      18
                                                           )
      19                                                   )
      20                                                   ) Date: 10/23/18
                                                           ) Time: 2:00 PM
      21                                                   ) Ctrm: 33
      22                                                   ) Place: 501 I Street
                                                           )        Sacramento, CA
      23
                                                           )
      24                                                   )
      25                                                   )
                                                           )
      26
                                                           )
      27
      28
      29


                                                       1              File No. CA-18-149521/ Case No. 17-24659
                                                                                                Proof of Service
Filed 10/09/18                                   Case 17-24659                                                       Doc 98



       1                                 CERTIFICATE OF SERVICE
       2
       3           On 10/9/2018, I served the foregoing NON-OPPOSITION TO MOTION TO SELL on
           the following individuals by electronic means through the Court’s ECF program and pursuant to
       4   LBR 7005-1(d)(1) and FRCivP5
       5
           TRUSTEE
       6   David Cusick
           legalmail@cusick13.com
       7
       8
                  I declare under penalty of perjury under the laws of the United States of America
       9   that the foregoing is true and correct.
      10                                                               /s/ Salvador Arroyo
      11                                                               Salvador Arroyo

      12
                   On 10/9/2018, I served the foregoing NON-OPPOSITION TO MOTION TO SELL on
      13
           the following individuals by depositing true copies thereof in the United States mail at San
      14   Diego, California, enclosed in a sealed envelope, with postage paid, addressed as follows:
      15          DEBTOR(S)
      16          Martha Coffin Sault, 7236 Cardinal Road, Fair Oaks, CA 95628

      17          Richard Kelly Sault, jr., 7236 Cardinal Road, Fair Oaks, CA 95628
      18          DEBTOR(S) COUNSEL
      19          Peter G. Macaluso, 7230 South Land Park Drive #127, Sacramento, CA 95831

      20
      21          I declare under penalty of perjury under the laws of the United States of America
           that the foregoing is true and correct.
      22
                                         Dated: 10/9/2018              /s/ wai tang
      23                                                               wai tang
      24
      25
      26
      27
      28
      29


                                                      2                 File No. CA-18-149521/ Case No. 17-24659
                                                                                                  Proof of Service
